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            EXHIBIT A
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                 SETTLEMENT AGREEMENT AND RELEASE

       This Settlement Agreement and Release ("Agreement") is entered into by and
between Charles A. Aspinwall and Robert Hutcheon (collectively "Named
Plaintiffs") and Rudy's Limousine Service, Inc., Roy Spezzano and Daniel Spezzano
(collectively, "Defendants" or "Rudy's") to resolve all claims asserted by Named
Plaintiffs against Rudy's in the action refened to below.

        WHEREAS, on March 26, 2014, Charles A. Aspinwall and Robert Hutcheon
individually and on behalf of all others similarly situated, filed this case -Aspinwall,
et al. v. Rudv 's Limousine Service, Inc., et al, No.3: 14-cv-00388-AWT ("Lawsuit")-
alleging that Rudy's unlawfully did not pay Named Plaintiffs and other Chauffeurs
overtime wages in violation of the Fair Labor Standards Act ("FLSA") and the
Connecticut Minimum Wage Act ("CMWA"). Aspinwall filed the suit seeking
certification of a FLSA collective under §216(b) and a Rule 23 class under the
CMWA. Because he alleged a willful violation under the FLSA, under 29 U.S.C. §
255(a), he claimed that the statute of limitations is three years going back to March
26,201l;and

      WHEREAS, the parties have engaged in good faith litigation including the
exchange of documents and the taking of depositions; and

        WHEREAS, the parties recently agreed to jointly move for a stay of the
litigation and to engage in good faith negotiations; and

     WB:EREAS, the parties appeared before Magistrate Judge Donna Martinez on
March 10, 2015 and engaged in extensive in person negotiations and reached an
agreement to resolve this litigation in principle subject to Court approval;

      THEREFORE, in consideration of the premises and the mutual promises and
terms set forth in the Agreement, the Parties agree as follows:


       1. Definitions

           (a)       Named Plaintiffs: Charlie Aspinwall and Robert Hutcheon.

            (b)     Opt-in Plaintiffs: Eleven of the 12 Chauffeurs who opted into
this case and who have not opted out of the case. Their names are listed on Schedule
A, attached.
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            (c)      CMWA Plaintiffs: Excluding Named Plaintiffs, there are ninety
three (93) other individuals who received payments and signed WH-58s (releases of
the FLSA claims for the two years indicated) as pali of a US DOL Investigation
conducted in 2014.       Their names are listed on Schedule B, attached. These
Chauffeurs have CMWA claims beyond the amount paid to them if their actual
damages exceed the amounts paid through the US DOL audit or if they prove that
Defendants' conduct in failing to pay them overtime wages was arbitrary,
unreasonable or in bad faith so as to justify penalty damages under the CMW A.

        2.      Joint Motion for Judicial Approval

       The parties agree to file a joint motion seeking approval of this Agreement
by the Honorable Judge Alvin Thompson, USDJ, and a proposed order dismissing
the Lawsuit to be entered by the CoUlt if it approves the Agreement.

        The Parties and their counsel agree to cooperate in good faith and take any
necessary actions to obtain final approval of the Agreement and to implement the
terms and conditions of the Agreement. The parties further agree that, if the
settlement provided herein is not approved by the Court in accordance with the terms
of this Agreement, the Parties will continue to negotiate in good faith an agreement
with terms that are acceptable to the Court. The parties also agree that, should the
Court not grant final approval to the settlement, the parties will return to their
respective litigation status quo prior to December 11, 2014, the date the parties jointly
moved to stay the litigation for purposes of conducting settlement negotiations.

        3.      Non-Admission/Confidentiality


 By entering into this Agreement, the parties do not admit any liability,
 wrongdoing, or violation of law, statute, ordinance, order, regulation, agreement,
 benefit plan, or policy and expressly deny the same. This Agreement is entered
 into solely for the purpose of amicably resolving the matters in controversy
 between the parties and to avoid the expense of further litigation. The Hayber and
 the Quinn Law Films, together with their respective counsel, each agree to remove
 and have removed information from their respective websites or social media
 outlets regarding the claims against Rudy's and/or the settlement thereof, and
 further agree not to repost or advertise in anyway the claim or the settlement on
 their websites, social media, and/or the internet and or world wide web in general


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       4.     Dismissal of Claims

        Named Plaintiffs acknowledge and accept the consideration ptovided by this
Agreement for their release and satisfaction of all claims covered by this Agreement,
including attorney's fees and litigation costs. Based upon the provisions herein,
Named PlaintitTs agree to request that the Court dismiss with prejudice the Lawsuit
as to the Named Plaintiffs and as to any putative collective and class member who
signs a release and without prejudice as to any members of the alleged putative
collective and class who do not sign a release.

       5. Settlement Fund

        The total amount Rudy's will pay pursuant to this Agreement is up to a
maximum of ninety tive thousand dollars ($95,000). The parties agree that Named
Plaintiffs will propose -and Rudy's will not contest- the following allocation of the
settlement fund in the motions for settlement approval to be filed with the Court:

       a.     Named Plaintiffs: Aspinwall will receive $1,000 for his damages and
       an incentive award in the amount of $3,000 for a total of $4,000. Hutcheon
       will receive $2,000 for his damages and an incentive award in the amount of
       $3,000 for a total of$5,000.

       b.     FLSA Opt-Ins: These 11 individuals will receive a total of $28,000,
       distributed in pro rata shares based on the weeks they worked in the class
       period and the amount of hours they worked.

       c.    CMWA Plaintiffs: Each member of this group will receive a check in
       the amount of $200 in return for their release of their state law claims; the 93
       CMWA Plaintiffs will therefore collectively receive a total of$18,600.

       d.     Attorneys' Fees and Costs:        Hayber Law Firm, LLC will receive
       $39,400.

        6. Timing and Method of Payments to Plaintiffs and Attorneys

            a. Hayber Law Firm has calculated the amounts due each ofthe 11 FLSA
               Opt In Plaintiffs and those figures are contained in a chart attached
               hereto as Schedule A.

            b. Within ten ( 10) business days of receiving notice of court approval,
               Rudy's will issue and mail to the Hayber Law Firm (a) one check in the
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            amount of$39,400 to Hayber Law Firm, provided that the Hayber Law
            Finn has provided Rudy's with a fully executed copy of IRS Fmm
            1099, (b) two checks payable to Aspinwall and Hutcheon in the
            amounts of$4,000 and $5,000 respectrvely, and (c) eleven checks in
            the amounts listed on Schedule A to the last known address of those
            plaintiffs.

         c. Within the same period, Rudy's will issue and mail ninety three (93)
            checks, each in the amount of $200, to the last known address of each
            of the CMW A plaintiffs, containing, either in the memo section or on
            the back of each check, the release language set forth in Paragraph 9 of
            this Agreement. The parties agree that Rudy's may retain any money
            from settlement checks that are not cashed by any of the CMWA
            Plaintiffs within ninety (90) days of the date of mailing the same to said
            Plaintiffs.



         d. l-Iayber Law Firm will calculate the amounts owed to the various
            individuals and send payments to them within one week of receipt of
            these funds.

      7. Attorney's Fees

      Named PlaintifTs acknowledge and agree that they are not entitled to any
attorney's fees or expenses other than those referred to in paragraph 6.

      8. Named Plaintiffs Waiver and Release of Claims

      Named Plaintiffs, on their own behalf and on the behalf of their respective
family members, heirs, legatees, next-of-kin, executors, administrators,
representatives, successors, and assigns, fully and finally release and discharge
Rudy's, its past, present and future parents, subsidiaries, afftliates, predecessors,
successors and assigns, and their past, present, and future owners, directors,
representatives, officers, employees, shareholders, agents, insurers, attorneys,
partners, accountants, heirs legatees, next-of-kin, executors, administrators,
representatives, and conservators (cumulatively "releasees"), in their personal,
individual, official, and/or corporate capacities, of and from any and all actions,
causes of action, suits, debts, dues, sums of money, damages, judgments, executions,
claims and demands whatsoever, in law or equity, which Named Plaintiffs ever had,

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now have, or which they or their heirs, executors, administrators, successors and
assigns (collectively "releasors") hereafter will, can or may have, whether now
known or unknown, whether contingent or non~contingent, whether specifically
asserted or not, arising out ofm in a11y way connected wtth Named Plaintiffs' claims
that they were owed ovetiirne or other unpaid wages as of the date when a Court
approves this Agreement. These released claims include all claims related to the
payment of wages, including, but are not limited to, claims under the FLSA or the
CMWA, Conn. Gen. Stat. Title 31, Chapter 58(§§ 31~58 et seq.);. Named Plaintiffs
agree to release and discharge the releasees from all such claims which they could
make on their own behalf, and also waive any right to become, and promlse not to
become, a member of any class or collective group in any proceeding or action in
which a claim or claims related to their compensation against any releasee arises, in
whole or in part, from any event which occurred prior to the date when a Court
approves this Agreement. This release does not purport to waive claims arising under
these laws based upon events or conduct which might occur after the date when a
CoU11 approves this Agreement.




       9. FLSA and CMWA Plaintiffs' Waiver and Release of Claims

      On the back or in the memo section of each check issued to and sent to the
FLSA Opt ln Plaintiffs and the CMWA Plaintiffs, will appear the following release
language:

        "By signing above and accepting these funds 1 hereby release Rudy's
       Limousine Service, Inc., Roy Spezzano and Daniel Spezzano from any and
       all claims for unpaid wages under the Fair Labor Standards Act ("FLSA ")and
       under the Connecticut Minimum Wage Act ("CMWA"). l understand that my
       interests have been represented by an attorney before signing this release and

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      that the COLnt has approved the tenns of this settlement agreement and
      release."


       10.    Transfer of Claims

       Named Plaintiffs represent that they have not transfened or assigned to any
person, firm, corporation, association, or entity any released claim. Named Plaintiffs
further represent that there is nothing that would prohibit them from entering into
this Agreement.

       1 1.   Entire Agreement

      This Agreement contains the entire agreement between the Parties and
supersedes all other agreements between the Named Plaintiffs and Rudy's regarding
the claims covered by the Agreement. This Agreement will not be changed,
modified, discharged or terminated in any manner unless in writing and signed by
all Named Plainti±Ts and Defendant.

        12. Severability

      The unenforceability of any provision of this Agreement will not affect or
impair any other provisions, which will remain in full force and effect.



        13. Voluntazy and Knowing Release

       Named Plaintiffs acknowledge that they have read this Agreement, discussed
it with their counsel, and understand its tenns. Named Plaintiffs acknowledge that
they are voluntarily and kno\vingly entering into the Agreement.

        14. Choice of Law

       This Agreement is to be interpreted pursuant to the laws of Connecticut.

          15. Counterparts


      This Agreement may be executed in counterparts, and when each party has
executed at least one counterpart, the counterpart will be deemed an original, and
when taken together, will constitute one Agreement, which will be binding and


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effective as to all parties. Each counterpart of this Agreement may be executed in
original, faxed, or electronic form, provided that it is duly executed.


      16. Retention of Jurisdiction


      The Court shall retain jurisdiction with respect to the interpretation,
implementation and enforcement of the terms of this Agreement, and the parties
hereto submit to the jurisdiction of the Court for said purposes.




 Charles A. Aspinwall                     Rudy's pm~usine Service, Inc.,.

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                                      Roy Spezzano


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                                      Date: March jL, 2015
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                        Schedule A
